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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 TONIA JACKSON and KENNETH
 JACKSON,                                         Case No. 4:19-cv-03279

       Plaintiffs,                                Honorable Judge Sim Lake
 v.

 CREDIT SYSTEMS INTERNATIONAL,
 INC. and ST. LUKE’S HOSPITAL AT THE
 VINTAGE,

      Defendants.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiffs TONIA

JACKSON       and    KENNETH      JACKSON,       and the    Defendants,    CREDIT     SYSTEMS

INTERNATIONAL, INC. and ST. LUKE’S HOSPITAL AT THE VINTAGE, through their

respective counsel that the above-captioned action is dismissed, with prejudice, against CREDIT

SYSTEMS INTERNATIONAL, INC. and ST. LUKE’S HOSPITAL AT THE VINTAGE,

pursuant to settlement and Federal Rule of Civil Procedure 41. Each party shall bear its own costs

and attorney fees.

Dated: September 17, 2020                            Respectfully Submitted,

TONIA JACKSON and                                    ST. LUKE’S HOSPITAL AT THE
KENNETH JACKSON                                      VINTAGE

/s/ Nathan C. Volheim                               /s/ Matthew Frontz (with consent)
Nathan C. Volheim                                   Matthew Frontz
Counsel for Plaintiffs                              Counsel for St. Luke’s Hospital
Sulaiman Law Group, LTD                             Polsinelli, P.C.
2500 S. Highland Avenue, Suite 200                  1000 Louisiana St., Suite 6400
Lombard, Illinois 60148                             Houston, Texas 77002
Phone: (630) 575-8181                               Phone: (713) 374-1600
Fax :(630) 575-8188                                 mfrontz@polsinelli.com
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nvolheim@sulaimanlaw.com


CREDIT SYSTEMS
INTERNATIONAL INC.

/s/ Robbie Malone
Robbie Malone
Counsel for Credit Systems
International Inc.
Malone, Frost Martin PLLC
8750 North Central Expressway
NCX Building, Suite 1850
Dallas, Texas 75231
Phone: (214) 346-2630
rmalone@mamlaw.com




                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                              /s/ Nathan C. Volheim
                                                              Nathan C. Volheim
